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KYLE ANTHONY PEREZ, ESTATE CLERK U 8 'B;STR\CT COURT
'Offlce of the General Executor
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General Delivery

P.o. BOX 9653
Canoga Park, California [91304-9998] '

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Plaintiff in Propria Persona

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Kyle, on Behalf of Himself, §M vfjasél\j'c’). 0 0 6 3 9 JV§ /<E<§

Plam“ff’ vERIFIEl) CoMPLAINT FOR
VS PERMANENT INJUNCTION,
' §EVSITH¥§¥FJ“§RE§I’) QTHER
CI- 'H"`E FINANCIAL SERVICES’ EQUITABLE RELIEF
”I”m w § d v) ¢ 0 m
Defendants.

 

 

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COMES NOW, Kyle, Plaintiff, a man over the age of majority, in His right
mind, Without Waiving any rights or remedies at law or in equity, and Without Waiving
and defects or deficiencies, and here and after referred to as “Plaintiff,” and for His
Verifled Complaint against the Defendants, CMRE FINANCIAL SERVICES, et al.,

(“CMRE ”), and TransUnion (“TransUnion”), declares as follows:

I. PRELIMINARY STATEMENT
1. This is an action for negligence, defamation, and Violations of the Fair
Credit Reporting Act (“FCRA”), 15 U.S.C. § 1681 et seq., arising out ofCMRE’s false
reporting to TransUnion of an alleged delinquent debt of the Plaintiff, and
TransUnion’s failure to correct CMRE’s false reporting on Plaintiff’ s TransUnion

credit report.
II. PARTIES

2. Plaintiff is currently and Was at all relevant times domiciled in the
County of Los Angeles, Califomia.

3. Plaintiff is a “consumer” as that term is defined by the FCRA, 15 U.S.C.
§ 1 68 1a(c).

4. Defendant, CMRE, is a corporation doing business in the state of
California With its principal place of business at: 3075 E Imperial HWY Suite 200.

Brea, California 92821.
5. CMRE is a “furnisher of information” as that term is defined by the

FCRA, 15 U.S.C. §1681s-2(b).

6. Defendant, TransUnion, is a corporation organized under the laws of the
United States of America and is headquartered in Chicago, lllinois.

7. TransUnion is a “consumer reporting agency that compiles and maintains

files on consumers on a nationwide basis” as that term is defined by the FCRA, 15

U.s.C. §16813(0).

 

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16-cv-00639-.]VS-KES Document 1 Filed 04/06/16 Page 3 of 13 Page |D #:3

8. TransUnion is regularly engaged in the business of assembling,
evaluating and dispensing information concerning consumers for the purpose of
furnishing “consumer reports,” as that term is defined at 15 U.S.C. § 1681a(d), to third

parties.
III. JURISDICTION

9. This Court has jurisdiction over this action: (1) pursuant to the FCRA, 15
U.S.C. §1681(p); (2) pursuant to 28 U.S.C. §1331; and (3) because the transactions
and occurrences giving rise to this action occurred in Los Angeles County, California

as a result of the Defendants doing business in Califomia.

IV. FACTUAL BACKGROUND

10. On or around January 2014, Plaintiff became aware that Defendants were
reporting negative/derogatory remarks on Plaintiff’s personal credit.

11. On or around January 9, 2014, Plaintiff demanded debt
validation/verification from Defendants.

12. Over the course of several months, Defendants were never able to
validate the alleged debt against Plaintiff.

13. Plaintiff requested Defendants to remove the negative/derogatory remark
on His personal credit after a debt validation could not be verified.

14. On or around February 14, 2014, Defendant’s agent, “J. J ones (2922)”
was sent a letter of validation and opportunity to cure, which was never responded to.

15. At some point thereafter, the derogatory remark was removed from all
three major credit-reporting agencies.

16. On or around November 21, 2015, over a year later, Plaintiff discovered
that Defendants were still reporting negative and derogatory remarks to the credit-

reporting agency Transunion arriving from the original alleged debt in 2014 that was

never validated

 

 

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16-cV-00639-.]VS-KES Document 1 Filed 04/06/16 Page 4 of 13 Page |D #:4

17. On or around March 22, 2016, Plaintiff telephoned Defendants and spoke
with “J ess Mercado” and eventually “Patty Einto” (Patty), the supervisor for CMRE.

18. Patty, the supervisor for CMRE, admitted to Plaintiff in a recorded
telephone call that the last letter Defendants had sent was dated January 20th, 2014 and
that the alleged debt in question was indeed never validated

19. Patty then agreed to send a letter of deletion that very same day on March
22, 2016 and advised Plaintiff that she was drafting the letter of deletion as they
spoke, but as of the date of this verified complaint, has not been received.

20. Defendants never validated any debt against Plaintiff, Defendants
removed themselves as an interested party by removing the disputed item in 2014, and
then years later came back to attempt to collect on the same alleged debt which was
never validated to begin with.

21. Despite Plaintiff’s lawful request for removal of the disputed item
pursuant to the FCRA, TransUnion failed to remove the disputed item from Plaintiff’ s
credit report. Upon information and belief, TransUnion did not evaluate or consider
any of Plaintiff’ s information, claims or evidence, and did not make any and/or
sufficient attempts to remove the disputed item within a reasonable time following
TransUnion’s receipt of Plaintiff s dispute.

22. Defendants actions have damaged Plaintiff in that Plaintiff has been
denied credit and/ or has been forced to pay a high rate of interest for credit due to the

Defendants’ false reporting of Plaintiff’ s alleged delinquency on the CMRE account.

V- QM
Negligence - CMRE
23. Plaintiff hereby adopts and incorporates the allegations contained in

paragraphs 1 through 22 as if fully set forth herein.
24. CMRE ’s false reporting to TransUnion regarding the alleged delinquent

debt was negligent under applicable law. In falsely reporting the alleged debt as

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delinquent, CMRE breached its duty to Plaintiff to report accurate information
regarding Plaintiff’s credit history and acted with conscious disregard for Plaintiff’ s
rights.

25 . CMRE ’s false reporting to TransUnion regarding the alleged delinquent
debt of the Plaintiff has caused damage to Plaintiff, including, but not limited to,
humiliation and embarrassment, a substantial decline in Plaintiff’s credit rating, and
other compensatory and consequential damages CMRE’s false reporting to
TransUnion regarding the alleged delinquent debt of the Plaintiff was willful and

wanton, entitling Plaintiff to punitive damages therefor.

Negligence - TransUnion

26. Plaintiff hereby adopts and incorporates the allegations contained in
paragraphs 1 through 25 as if fully set forth herein.

27. TransUnion’s failure to remove Cl\/lRE’s false report of Plaintiff’s
alleged delinquency from Plaintiff" s TransUnion credit report, despite Plaintiff s
lawful notices to TransUnion of the falsity of the report, was negligent In failing to
remove CMRE’s false reports of Plaintiff’ s alleged delinquency, TransUnion breached
its duty to Plaintiff to thoroughly investigate any and all credit reporting disputes and
to maintain accurate credit histories for the Plaintiff, and acted With conscious
disregard for Plaintiff’ s rights.

28. TransUnion’s negligent failure to remove CMRE’s false reports of
Plaintiff s alleged debt from Plaintiff’ s TransUnion credit report has caused damages
to Plaintiff, including, but not limited to, humiliation and embarrassment, a substantial
decline in Plaintiff’ s credit rating, and other compensatory and consequential
damages.

29. TransUnion’s failure to remove Cl\/[RE’s false report of Plaintiff’s
alleged debt from Plaintiff’s credit report, despite Plaintiff’ s lawful notices to

 

 

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16-cv-00639-.]VS-KES Document 1 Filed 04/06/16 Page 6 of 13 Page |D #:6

TransUnion of the falsity of the reports, was Williul and wanton, entitling Plaintiff to

punitive damages therefor.

Defamation - CMRE

30. Plaintiff hereby adopts and incorporates the allegations contained in
paragraphs 1 through 29 as if fully set forth herein.

3 1. CMRE, with knowledge of the falsity of its statements, has published and
continues to publish statements to others, including, but not limited to, TransUnion,
that Plaintiff was past due on the alleged CMRE account and that the CMRE account
was in collection status. CMRE ’s statements were made with conscious disregard for
the rights of the Plaintiff.

32. CMRE’s publication of false statements regarding Plaintiff" s
creditworthiness and Plaintiff’s alleged delinquent debt amounts to defamation and
defamation per se of the Plaintiff, entitling Plaintiff to compensatory, special,

consequential and punitive damages therefor.

Defamation - TransUnion

33. Plaintiff hereby adopts and incorporates the allegations contained in
Paragraphs 1 through 32 as if fully set forth herein.

34. TransUnion, with knowledge of the falsity of its statements, has
published and continues to publish statements to others, including, but not limited to,
CMRE and other currently unknown entities and/or individuals who have accessed
Plaintiff’ s TransUnion credit report, that Plaintiff was past due on the alleged CMRE
account and that CMRE was in collection status. In publishing such statements,
TransUnion acted with conscious disregard for the rights of the Plaintiff.

35. TransUnion’s publication of false statements regarding Plaintiff’s

creditworthiness and Plaintiff’s alleged delinquent debt amounts to defamation and

 

 

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16-cv-00639-.]VS-KES Document 1 Filed 04/06/16 Page 7 of 13 Page |D #:7

defamation per se of the Plaintiff, entitling Plaintiff to compensatory, special,

consequential and punitive damages therefor.

Negligent Violation of the Fair Credit Reporting Act - CMRE

36. Plaintiff hereby adopts and incorporates the allegations contained in
Paragraphs 1 through 35 as if fully set forth herein.

37. CMRE ’s false reporting to TransUnion ofPlaintiff’ s alleged delinquency
is a violation of CMRE ’s duties as a furnisher of credit information pursuant to the
FCRA, 15 U.S.C. §1681s-2(a) and (b).

38. CMRE ’s violations of the FCRA amount to negligent non-compliance
with the FCRA as stated in 15 U.S.C. §16810 for which CMRE is liable to Plaintiff
for Plaintiff’s actual damages, for statutory damages, and for Plaintiff’s reasonable

fees associated with filing suit.

Negligent Violation of the Fair Credit Reporting Act - TransUnion

39. Plaintiff hereby adopts and incorporates the allegations contained in
Paragraphs 1 through 38 as if fully set forth herein.

40. TransUnion’s repeated failure to remove the disputed item from
Plaintiff’ s credit report despite knowledge of the falsity of the disputed item is a
violation of TransUnion’s duty to ensure maximum possible accuracy of consumer
reports under 15 U.S.C. § 1681e(b) and TransUnion’s duties regarding investigation of
disputed items under 15 U.S.C. §1681i.

41. TransUnion’s failure to evaluate or consider any of Plaintiff’s
information, claims or evidence, and its failure to make any and/ or sufficient attempts
to remove the disputed item from Plaintiff s credit report within a reasonable time
following TransUnion’s receipt of Plaintiff" s dispute is a violation of TransUnion’s
duties regarding investigation of disputed items under 15 U.S.C. §1681i.

TransUnion’s violations of the FCRA amount to negligent non-compliance With the

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FCRA as stated in 15 U.S.C. §16810, for Which TransUnion is liable to Plaintiff for
Plaintiff’ s actual damages, for statutory damages, and for Plaintiff’ s reasonable fees

associated with filing suit.

Willful Violation of the Fair Credit Reporting Act - CMRE

42. Plaintiff hereby adopts and incorporates the allegations contained in
Paragraphs 1 through 41 as if fully set forth herein.

43. CMRE ’s false reporting to TransUnion of Plaintiff’ s alleged
delinquency, despite CMRE ’s knowledge of the falsity of its reporting, is a Willful
violation of CMRE ’s duties as a furnisher of credit information pursuant to the
FCRA, as stated in 15 U.S.C. §1681s-2(a) and (b).

44. Given CMRE ’s knowledge of the falsity of its reporting, CMRE ’s
violations of the FCRA amount to willful non-compliance with the FCRA as stated in
15 U.S.C. §1681n for which CMRE is liable to Plaintiff for Plaintiff’s actual

damages, for statutory damages, for punitive damages, and for Plaintiff’ s reasonable

fees associated with filing suit.

Willful Violation of the Fair Credit Reporting Act - TransUnion

45 . Plaintiff hereby adopts and incorporates the allegations contained in
Paragraphs 1 through 44 as if fully set forth herein.

46. TransUnion’s failure to remove the disputed item from Plaintiff s credit
report despite knowledge of the falsity of the disputed item is a willful violation of
TransUnion’s duty to ensure maximum possible accuracy of consumer reports as
stated in 15 U.S.C. §1681e(b) and TransUnion’s duties regarding investigation of
disputed items under 15 U.S.C. §1681i.

47. TransUnion’s failure to evaluate or consider any of Plaintiffs
information, claims or evidence, and its failure to make any and/or sufficient attempts

to remove the disputed item within a reasonable time following TransUnion’s receipt

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of Plaintiff’ s dispute is a willful violation of TransUnion’s duties regarding
investigation of disputed items as stated in 15 U.S.C. §1681i.

48. TransUnion’s violations of the FCRA amount to willful non-compliance
with the FCRA as stated in 15 U.S.C. §1681n for which TransUnion is liable to
Plaintiff for Plaintiff" s actual damages, for statutory damages, for punitive damages
and for Plaintiff’s reasonable fees associated with filing suit.

WHEREFGRE, Plaintiff, Kyle, respectfully demands the following:

1. Trial by jury on all issues so triable;

2. Judgment against the Defendants for statutory, compensatory,
consequential and punitive damages;

3. For Plaintiff’ s fees and costs; and,

4. Any and all other relief to which Plaintiff may appear to be entitled.

DATED: 3/25/2016 by:_/s/'K le
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General Delivery
P.O. BoX 9653
Canoga Park, California [91304-9998]

 

KYLE ANTHONY PEREZ

 

 

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VERIFICATION

l, Kyle, declare and state as follows:

1. I am the Plaintiff in the above-entitled matter. I have read the foregoing
Complaint and know the content thereof, and the same is true of my own knowledge,
except as to matters which are stated upon my own information and belief, which I
believe to be true.

I declare under penalty of perjury that the foregoing is true and correct.
Executed on 3/25/2016 at Los Angeles, California.

by /<19

Kyle
All Rights Reserved

 

 

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l. (a) PLA|NTIFFS ( Check box if you are representing yourself ) DEFENDANTS ( Check box if you are representing yourself |:l )

 

 

 

(b) County of Residence of First Listed Plaintiff LO$ Ange|e$ County of Residence of First Listed Defendant Orange
(EXCEPT/N U.S. PLAINT/FF CASES) (lN U.S. PLAINT/FF CASES ONL Y)

(C) Attorneys (Firm Name, Address and Telephone Number) lf you are Attorneys (Firm Name, Address and Telephone Number) lf you are
representing yourse|f, provide the same information. representing yourse|f, provide the same information.

KYLE ANTHONY PEREZ, Estate

ln Care Of: P.O. Box 9653

Canoga Park, California near [91304-9998]
Ky|ePerezEstate@gmai|.com

 

 

 

 

ll. BAS|S OF JUR|SD|CT|ON (P|ace an X in one box on|y.) lll. ClTlZENSH|P OF PR|NC|PAL PART|ES-For Diversity Cases On|y
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v.REQuEsTEDlN coMPLAlNT:JuRYDEMAND: -Yes |:] No (Check"Yes" only ifdemanded in complaint.)

CLASS ACT|ON under F.R.CV.P. 232 |:| Yes No MONEY DEMANDED lN COMPLA|NT: $

Vl. CAUSE OF ACTlON (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
15 U.S.C. §1681 et seq. Permanent injunction, Civi| penalties, Restitution and other Equitable relief for violations of the FCRA. and defamation.

 

  
  
 

       

            
 

   

      
  

 

       
  
  

    
 
 

    
   
   
 

    
 

 
    
    
  

     
  

        

 
 

        

        

    

 

 

 

 

 

 

 

 

  

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FOR OFFlCE USE ONLY: Case Number:
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Vlll. VENUE: Your answers to the questions below will determine the division ofthe Court to which this case will be initially assigned. This initial assignment is subject
to change, in accordance with the Court’s General Orders, upon review by the Court of your Complaint or Notice of Removal.

QUEST|ON A: Was this case removed

 

 
  

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l:] Los Angeles, Ventura, Santa Barbara, or San Luis Obispo Western
if "no, " skip to Question B. if "yes," check the
box to the right that applies, enter the l:l Orange Southern
corresponding division in response to . _
Question E, below, and continue from there. l:l R'Vers'de er San Bemardln° Eastern

  

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QUEST|ON 320 lS the Unlted State$i br l he defendants Who reside 'n 7 YES. Your case will initially be assigned to th l
one Of its agencies 0|' employees, a the d'$t"€t res'de '" O"ange C°'? |:| Enter "Southern" in response to Question E, below, and continue
PLA|NT|FF in this action? from there.
check one of the boxes to the right »
m Yes NO |___l NO. Continue to Question B.2.
B.2. Do 50% or more ofthe defendants who reside in YES Your case Wi" inman - ' - -

.. .. . - .. .. , , _ _ , _ _ . y be assigned to the Eastern Division.
|f no'. Sk|p to Ql.]estlon C' |f yes' answer the d'§tr'€t res'de m R'Vers'de and/er San Bema'd'n° [:| Enter "Eastern" in response to Question E, below, and continue
Question B.l, at right Counties? (Consider the two counties together.) from there

check one ofthe boxes to the right l NO. Your case will initially be assigned to the Western Division.

|:] Enter "Western" in response to Question E, below, and continue
from there.

 
 
              

        
 
  

    

  

      

  

 

 

 

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QUEST|ON C! lS_the Unlt€d State$r or ' ' _ _ 7 YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees, a d'St"Ct "eS‘de m Ora"ge C°~~ |:l Enter "Southern" in response to Question E, below, and continue
DEFENDANT in this action? from there.
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l:l Yes N° |:| NO. Continue to Question C.2.
C.2. Do 50% or more ofthe plaintiffs who reside in the YES Yourcase Wi" inman be assi n . . .

.. .. . . .. .. . . ed to the Ea t D .
|f nO, skip tO QU€SfIOn D- li ye$, anSW€r district reside in Riverside and/or San Bernardino |:| Enter "Eastern" in respons: to Quegstion E belowsa:?co'::::;
Que$'inn C.i/ at right Counties? (Consider the two counties together.) from there_ ' '

check one of the boxes to the right » NO. Your case will initially be assigned to the Western Division.

\:l Enter "Western" in response to Question E, below, and continue
from there.

  

 

 

 

 
   
    

indicate the |ocation(s) in which 50% or more of plaintiffs Who reside in this district
reside. (Check up to two boxes, or leave blank if none of these choices appiy.)

indicate the |ocation(s) in which 50% or more of defendants Who reside in t_his
district reside. (Check up to two boxes, or leave blank if none of these choices

app|y.)

1

   

 

 

 
    

D.1. ls there at least one answer in Column A? D.2. ls there at least one answer in Column B?
Yes l:| No l:l Yes |:] No
if "yes," your case will initially be assigned to the if "yes," your case will initially be assigned to the
SOUTHERN DlV|S|ON. EASTERN DlV|S|ON.
Enter "Southern" in response to Question E, below, and continue from there. Enter "Eastern" in response to Question E, below.
if "no,‘l go to question D2 to the right -} if "no," your case will be assigned to the WESTERN DlV|S|ON.

Enter "Western" in response to Question E, below,

<l-

 

       

 

    
   

         

 

 

Enter the initial division deter SOUTHERN

aaa ira easier \,,4;¢)1',~' _ ago tii" - » y ns

tied N_"._…' ., .

Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties? |:| Yes No

 

cv-71 (02/16) civiL covER si-iEEi' page 2 of 3

~ ease 3:16-@\/-0063‘5`5'}\5§-5§¥ S'i$$&lc“b°if§§{’§;"§§£§zdil§l§i$ i?>%§ieui§“o lila Page iD #:13

lX(a). lDENT|CAL CASES: Has this action been previously filed in this court? NO {_ j YES

|f yes, list case number(s):

lX(b). RELATED CASES: ls this case related (as defined below) to any civil or criminal case(s) previously filed in this cot;u:ty

 

|f yes, list case number(s):

No L YEs

 

Civil cases are related when they (check all that apply):

A. Arise from the same or a closely related transaction, happening, or event;

|:| B. Ca|| for determination of the same or substantially related or similar questions of law and fact; or

[| C. For other reasons would entail substantial duplication of labor if heard by differentjudges.

Note: That cases may involve the same patent, trademark, or copyright is not, in itse|f, sufficient to deem cases related.

A civil forfeiture case and a criminal case are related when they (check all that apply):

|:| A. Arise from the same or a closely related transaction, happening, or event;

|:l B. Cal| for determination of the same or substantially related or similar questions of law and fact; or

C. involve one or more defendants from the criminal case in common and would entail substantial duplication of
labor if heard by differentjudges.

 

X. SlGNATURE OF ATI'ORNEY
(OR SELF-REPRESENTED LlTlGANT):

~ '/\
.M: K/j DATE; 3/25/2016

 

 

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Notice to Counsel/Parties: The submission of this Civi| Cover Sheet is required by Loca| Ru|e 3-1. This Form CV-7l and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by |aw, except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet (CV-071A).

 

 

Key to Statistica| codes relating to Social Security Cases:

' Nature of Suit Code
861 HiA
862 BL
863 D|WC
863 D|WW
864 SSlD
865 RSl

Abbreviation

Substantive Statement of Cause of Action
All claims for health insurance benefits (Medicare) under Tit|e 18, Part A, of the Social Security Act, as amended. A|so,
include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
(42 U.S.C.1935FF(b))

All claims for "B|ack Lung" benefits under Tit|e 4, Part B, of the Federa| Coa| Mine Hea|th and Safety Act of 1969. (30 U.S.C.
923)

All claims filed by insured workers for disability insurance benefits under Tit|e 2 ofthe Social Security Act, as amended; plus
all claims filed for chi|d's insurance benefits based on disability. (42 U.S.C. 405 (g))

All claims filed for widows or widowers insurance benefits based on disability under Tit|e 2 of the Social Security Act, as
amended. (42 U.S.C. 405 (g))

All claims for supplemental security income payments based upon disability filed under Tit|e 16 ofthe Social Security Act, as
amended.

All claims for retirement (old age) and survivors benefits under Tit|e 2 of the Social Security Act, as amended.
(42 u.S.c. 405 (g))

 

CV-71 (02/16)

ClVlL COVER SHEET Page 3 of 3

